Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Wong's King Restaurant Group #4, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Wong's King Seafood Restaurant
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8733 SE Division St.
                                  Suite 101                                                       PO Box 16896
                                  Portland, OR 97266                                              Portland, OR 97292
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Multnomah                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.wongsking.com/index.html


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                             Case 20-31570-pcm7                  Doc 1        Filed 05/13/20
Debtor    Wong's King Restaurant Group #4, Inc.                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                                 Case 20-31570-pcm7                   Doc 1         Filed 05/13/20
Debtor   Wong's King Restaurant Group #4, Inc.                                                     Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                             Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
Debtor    Wong's King Restaurant Group #4, Inc.                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 13, 2020
                                                  MM / DD / YYYY


                             X   /s/ May Wong                                                             May Wong
                                 Signature of authorized representative of debtor                         Printed name

                                         Business Manager/Authorized
                                 Title   Representative




18. Signature of attorney    X   /s/ Matthew A. Arbaugh                                                    Date May 13, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew A. Arbaugh 020251
                                 Printed name

                                 Arbaugh Law, P.C.
                                 Firm name

                                 121 SW Morrison Street
                                 Suite 1520
                                 Portland, OR 97205
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     971-238-3556                  Email address      matt@arbaugh-law.com

                                 020251 OR
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
                                             Case 20-31570-pcm7                    Doc 1        Filed 05/13/20
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      District of Oregon
 In re       Wong's King Restaurant Group #4, Inc.                                                            Case No.
                                                                              Debtor(s)                       Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,665.00
             Prior to the filing of this statement I have received                                        $                     3,665.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 13, 2020                                                             /s/ Matthew A. Arbaugh
     Date                                                                     Matthew A. Arbaugh 020251
                                                                              Signature of Attorney
                                                                              Arbaugh Law, P.C.
                                                                              121 SW Morrison Street
                                                                              Suite 1520
                                                                              Portland, OR 97205
                                                                              971-238-3556 Fax: 503-716-3833
                                                                              matt@arbaugh-law.com
                                                                              Name of law firm




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                                                  Case 20-31570-pcm7             Doc 1        Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name         Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 13, 2020                            X /s/ May Wong
                                                                       Signature of individual signing on behalf of debtor

                                                                       May Wong
                                                                       Printed name

                                                                       Business Manager/Authorized Representative
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                  Case 20-31570-pcm7                       Doc 1        Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name            Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            32,882.89

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            32,882.89


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            69,250.91

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           486,213.96


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             555,464.87




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                            Case 20-31570-pcm7                                      Doc 1               Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name         Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                              12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                             Current value of
                                                                                                                               debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 5,882.89   -                                0.00 = ....                 $5,882.89
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                              $5,882.89
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 1
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                                                  Case 20-31570-pcm7                  Doc 1        Filed 05/13/20
 Debtor         Wong's King Restaurant Group #4, Inc.                                         Case number (If known)
                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2003 Chevrolet Suburban                                                $0.00     Liquidation                         $1,500.00


           47.2.     Work Trailer                                                           $0.00     Liquidation                           $500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Total Kitchen (Silverware, Plates, Chairs,
           Tables, POS System, Cooler, Ice Machine,
           Sink, Grinder, Commercial Dishwasher, Prep
           Tables, Commercial Deep Fryer, 2 Wok Lines,
           Steamers, Commerical Fryer, 3 ovens,
           Commercial Stove, 2 walk in coolers, shipping
           container, Food Warmer, Misc Small Items                                   $67,000.00      Liquidation                       $25,000.00




 51.       Total of Part 8.                                                                                                         $27,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                                                  Case 20-31570-pcm7                Doc 1         Filed 05/13/20
 Debtor         Wong's King Restaurant Group #4, Inc.                                         Case number (If known)
                Name


               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Business Name and Logo "Wong King's
            Seafood Restaurant"                                                        Unknown        N/A                                 Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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                                                  Case 20-31570-pcm7                Doc 1         Filed 05/13/20
 Debtor          Wong's King Restaurant Group #4, Inc.                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $5,882.89

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $27,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $32,882.89          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $32,882.89




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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                                                      Case 20-31570-pcm7                              Doc 1            Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name          Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        Corporation Service
 2.1                                                  Describe debtor's property that is subject to a lien                     Unknown                 $25,000.00
        Company
        Creditor's Name                               Total Kitchen (Silverware, Plates, Chairs,
                                                      Tables, POS System, Cooler, Ice Machine,
                                                      Sink, Grinder, Commercial Dishwasher, Prep
                                                      Tables, Commercial Deep Fryer, 2 Wok Lines,
                                                      Steamers, Commerical Fryer, 3 ovens,
        PO Box 2576                                   Commercial Stove, 2 walk in cool
        Springfield, IL 62708
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                                                   Case 20-31570-pcm7                        Doc 1       Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name         Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,353.79         $2,353.79
           Bao Zhao                                                  Check all that apply.
           2220 SE 96th Dr                                              Contingent
           Apt #6                                                       Unliquidated
           Portland, OR 97216                                           Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages

           Last 4 digits of account number 0166                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $326.69         $326.69
           Bryan Tortoledo                                           Check all that apply.
           2455 SE 84th Ave                                             Contingent
           Portland, OR 97216                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages

           Last 4 digits of account number 1579                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,153.04    $1,153.04
          Chialin Chang                                              Check all that apply.
          PO Box 16896                                                  Contingent
          Portland, OR 97292                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 6095                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,300.00    $2,300.00
          City of Portland                                           Check all that apply.
          111 SW Columbia St.                                           Contingent
          Suite #600                                                    Unliquidated
          Portland, OR 97201-5840                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2019 City Income Taxes

          Last 4 digits of account number 7615                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,846.68    $2,846.68
          Cui Ying Xie                                               Check all that apply.
          2788 SE 122nd Ave                                             Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 4475                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,324.44    $1,324.44
          Da Rong Chen                                               Check all that apply.
          15477 SE Thornbridge Dr.                                      Contingent
          Clackamas, OR 97015                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1440                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $3,681.99    $3,681.99
          Fu Wong                                                    Check all that apply.
          PO Box 16896                                                  Contingent
          Portland, OR 97292                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 2601                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $4,540.76    $4,540.76
          Fu-Le Wong                                                 Check all that apply.
          PO Box 16896                                                  Contingent
          Portland, OR 97292                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 3765                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,674.55    $1,674.55
          Fulai Wong                                                 Check all that apply.
          PO Box 16896                                                  Contingent
          Portland, OR 97292                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1493                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $855.68     $855.68
          Hai Feng Ma                                                Check all that apply.
          3214 SE 92nd Ave                                              Contingent
          Apt #12                                                       Unliquidated
          Portland, OR 97266                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 3253                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,255.59    $1,255.59
          Hua Li Huang                                               Check all that apply.
          7021 SE 78th Ave                                              Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 2875                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $0.00     $0.00
          IRS                                                        Check all that apply.
          Centralized Insolvency Operation                              Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2019 Income Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,503.70    $1,503.70
          IRS-Insolvency Unit                                        Check all that apply.
          PO Box 21126                                                  Contingent
          Philadelphia, PA 19114-0326                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Withholdings
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $714.87     $714.87
          Jian Ping Liang                                            Check all that apply.
          2545 SE 125th Ave                                             Contingent
          Apt. 10                                                       Unliquidated
          Portland, OR 97236                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 7079                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,070.97    $1,070.97
          Jie Chen                                                   Check all that apply.
          2416 SE 89th Ave                                              Contingent
          Portland, OR 97216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 9742                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,348.32    $1,348.32
          Jie Li He                                                  Check all that apply.
          13819 SE Mill St.                                             Contingent
          Portland, OR 97233                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 9424                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $808.71     $808.71
          Li Xian Ma                                                 Check all that apply.
          10609 SE Insley Pl                                            Contingent
          Portland, OR 97266                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 2468                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $469.19     $469.19
          Li Yan Ou Yang                                             Check all that apply.
          8117 SE Bybee Blvd                                            Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1098                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,625.13    $1,625.13
          Li Yun He                                                  Check all that apply.
          959 SW Stellar                                                Contingent
          Beaverton, OR 97005                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 8529                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,732.28    $1,732.28
          Ling Ya Lin                                                Check all that apply.
          5317 SE 140th Ave                                             Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 6845                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,777.32    $1,777.32
          Lixin Wang                                                 Check all that apply.
          2408 SE 87th Ave                                              Contingent
          Portland, OR 97216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 7808                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,665.09    $2,665.09
          Mei Chen                                                   Check all that apply.
          12851 S Sherman St.                                           Contingent
          Portland, OR 97233                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1845                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $107.59     $107.59
          Miao Yi Chen                                               Check all that apply.
          2544 SE 87th Ave                                              Contingent
          Portland, OR 97266                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 6706                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,263.34    $1,263.34
          Ming Chen                                                  Check all that apply.
          8319 SE Rhone St.                                             Contingent
          Portland, OR 97266                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 8155                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $56.34     $56.34
          Multnomah County Personal                                  Check all that apply.
          Property Tax                                                  Contingent
          PO Box 2716                                                   Unliquidated
          Portland, OR 97208-2716                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Personal Property Tax

          Last 4 digits of account number 8916                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $381.04     $381.04
          ODR Bkcy                                                   Check all that apply.
          955 Center St. NE                                             Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Payroll Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,600.00    $1,600.00
          ODR Bkcy                                                   Check all that apply.
          955 Center St. NE                                             Contingent
          Salem, OR 97301                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2019 Income Taxes

          Last 4 digits of account number 7615                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,598.15    $1,598.15
          Pei Jian Chen                                              Check all that apply.
          2228 SE 96th Dr.                                              Contingent
          Apt. 4                                                        Unliquidated
          Portland, OR 97216                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 8683                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,603.75    $2,603.75
          Qing Mei Yang                                              Check all that apply.
          15477 SE Thornbridge Dr.                                      Contingent
          Clackamas, OR 97015                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 5691                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $785.03     $785.03
          Su Juan Wu                                                 Check all that apply.
          13832 SE Woodward Ct.                                         Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1531                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,837.54    $1,837.54
          Wan Zhu Chen                                               Check all that apply.
          16019 SE Brooklyn St.                                         Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 1803                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $873.67     $873.67
          Wen Cong Chen                                              Check all that apply.
          2236 SE 96th Dr.                                              Contingent
          Apt. 2                                                        Unliquidated
          Portland, OR 97216                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 6418                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $7,363.93    $7,363.93
          Wing Lay Wong                                              Check all that apply.
          PO Box 16896                                                  Contingent
          Portland, OR 97292                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 3172                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,565.43    $1,565.43
          Xiao Ling Wang                                             Check all that apply.
          6432 SE 86th Ave                                              Contingent
          Portland, OR 97266                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 8093                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                           Case number (if known)
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,673.74    $2,673.74
          Xing Feng Lei                                              Check all that apply.
          11822 SE Yamhill St.                                          Contingent
          Portland, OR 97216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 2960                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,304.41    $1,304.41
          Xing Ji Ou                                                 Check all that apply.
          11627 SE Morrison St.                                         Contingent
          Portland, OR 97216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 0584                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,479.99    $1,479.99
          Xue Hua Yu                                                 Check all that apply.
          8800 SE Causey Loop                                           Contingent
          Apt #C210                                                     Unliquidated
          Happy Valley, OR 97086                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 3392                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,800.81    $2,800.81
          Yan Yin Chen                                               Check all that apply.
          14078 SE Summerfield Loop                                     Contingent
          Happy Valley, OR 97086                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages

          Last 4 digits of account number 9810                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor        Wong's King Restaurant Group #4, Inc.                                                          Case number (if known)
               Name

 2.39       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $2,980.69    $2,980.69
            Yi Jian Qiu                                              Check all that apply.
            3116 NE 116th St.                                           Contingent
            Vancouver, WA 98686                                         Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages

            Last 4 digits of account number 4629                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $594.57     $594.57
            Ying Mei Xu                                              Check all that apply.
            3146 SE 85th Ave                                            Contingent
            Portland, OR 97266                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages

            Last 4 digits of account number 0753                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $1,352.10    $1,352.10
            Yu Jie Chen                                              Check all that apply.
            8055 SE Hawthorne                                           Contingent
            Portland, OR 97215                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Wages

            Last 4 digits of account number 8189                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $15,304.41
           Capital One                                                                 Contingent
           PO Box 60599                                                                Unliquidated
           City of Industry, CA 91716                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Credit Card
           Last 4 digits of account number      5616
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $50,674.62
           Capital One                                                                 Contingent
           PO Box 60599                                                                Unliquidated
           City of Industry, CA 91716                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Credit Card
           Last 4 digits of account number      6880
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 11 of 16
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                                                  Case 20-31570-pcm7                            Doc 1            Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                   Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,794.70
          Capital One                                                           Contingent
          PO Box 60599                                                          Unliquidated
          City of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       5041
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $201,297.02
          China Foods                                                           Contingent
          1414 SE 82nd Ave                                                      Unliquidated
          Portland, OR 97216                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          City of Portland - Environ Services                                   Contingent
          1120 SW Fifth Ave                                                     Unliquidated
          Room 100                                                              Disputed
          Portland, OR 97204-1912
                                                                             Basis for the claim:    Utility
          Date(s) debt was incurred
          Last 4 digits of account number       4033                         Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,705.86
          City of Portland - Water Bureau                                       Contingent
          PO Box 4216                                                           Unliquidated
          Portland, OR 97208-4216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       0000
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200.00
          City of Portland -Environmental Services                              Contingent
          111 SW Columbia St.                                                   Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NSF Check
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $241.20
          Comcast Business                                                      Contingent
          PO Box 60533                                                          Unliquidated
          City of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       5467
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $385.64
          Ecolab                                                                Contingent
          655 Lone Oak Dr.                                                      Unliquidated
          Attn: Credit, Bldg A1                                                 Disputed
          Saint Paul, MN 55121
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 16
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                                                  Case 20-31570-pcm7                     Doc 1           Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                   Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $347.24
          JC Noodle                                                             Contingent
          8405 SE Foster Rd.                                                    Unliquidated
          Portland, OR 97266                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Jeany (Li) Wong                                                       Contingent
          4048 NW 20th Ave.                                                     Unliquidated
          Camas, WA 98607                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $210.00
          KB Bakery                                                             Contingent
          6300 SE Foster Rd.                                                    Unliquidated
          Portland, OR 97206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,951.00
          King Plaza of Portland, LLC
          aka Peace of Mind, LLC                                                Contingent
          8733 SE Division St.                                                  Unliquidated
          Suite 201                                                             Disputed
          Portland, OR 97266
                                                                             Basis for the claim:    Rent - Month to Month
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lor Thao                                                              Contingent
          c/o Dunn & Roy, PC                                                    Unliquidated
          1515 State Street                                                     Disputed
          Salem, OR 97301
                                                                             Basis for the claim:    Personal Injury Claim
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,217.60
          Mutual of Enumclaw                                                    Contingent
          PO Box 34983                                                          Unliquidated
          Seattle, WA 98124-1983                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number       9410
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,767.51
          NW Natural                                                            Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228-6017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       6679
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 16
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                                                  Case 20-31570-pcm7                     Doc 1           Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                   Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,256.24
          Otter Commercial Services                                             Contingent
          PO Box 13321                                                          Unliquidated
          Portland, OR 97213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Services
          Last 4 digits of account number       0498
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,324.13
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       0000
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,029.44
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       0000
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $798.90
          S J Distributors                                                      Contingent
          7098 N Marine Dr.                                                     Unliquidated
          Portland, OR 97203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,922.00
          S&D Produce                                                           Contingent
          6417 SE Powell Blvd                                                   Unliquidated
          Portland, OR 97206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,114.97
          TYSY Merchant
          Merchant Processing Center                                            Contingent
          12292 Airport Way                                                     Unliquidated
          Suite 100                                                             Disputed
          Broomfield, CO 80021
                                                                             Basis for the claim:    Merchant Services
          Date(s) debt was incurred
          Last 4 digits of account number       8489                         Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,868.13
          US Bank                                                               Contingent
          PO Box 790408                                                         Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       2528
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 16
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                                                  Case 20-31570-pcm7                     Doc 1           Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                   Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,321.15
          US Bank                                                               Contingent
          PO Box 790408                                                         Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       1063
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,624.92
          US Bank                                                               Contingent
          PO Box 790408                                                         Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       0314
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,895.73
          US Bank                                                               Contingent
          PO Box 790408                                                         Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       9248
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,513.47
          US Bank Reserve Line                                                  Contingent
          PO Box 3447                                                           Unliquidated
          Oshkosh, WI 54903                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Line of Credit
          Last 4 digits of account number       8782
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,324.51
          US Linen & Uniform                                                    Contingent
          1106 Harding St.                                                      Unliquidated
          Richland, WA 99352                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       6920
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,810.74
          Waste Management                                                      Contingent
          PO Box 541065                                                         Unliquidated
          Los Angeles, CA 90054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       3005
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,525.83
          Wells Fargo                                                           Contingent
          PO Box 29482                                                          Unliquidated
          Glendale, AZ 85308-8650                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number       4775
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 16
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                                                  Case 20-31570-pcm7                     Doc 1           Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                   Case number (if known)
              Name

 3.31      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $45,000.00
           Wing Lay Wong                                                        Contingent
           PO Box 16896                                                         Unliquidated
           Portland, OR 97292                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan with Promissory Note
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.32      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,587.00
           Wong's King #2                                                       Contingent
           c/o Wing Lay Wong                                                    Unliquidated
           PO Box 16896                                                         Disputed
           Portland, OR 97292
                                                                             Basis for the claim:    Loan
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        69,250.91
 5b. Total claims from Part 2                                                                            5b.   +    $                       486,213.96

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          555,464.87




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 16 of 16
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                                                  Case 20-31570-pcm7                     Doc 1           Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name         Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                  Case 20-31570-pcm7            Doc 1        Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name         Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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                                                  Case 20-31570-pcm7              Doc 1     Filed 05/13/20
 Fill in this information to identify the case:

 Debtor name         Wong's King Restaurant Group #4, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $268,650.94
       From 1/01/2020 to Filing Date
                                                                                                   Other    <Add New>


       For year before that:                                                                       Operating a business                             $2,198,419.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                                                  Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
 Debtor       Wong's King Restaurant Group #4, Inc.                                                     Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Lor Thao v. Wong's King                           Personal Injury            Multnomah County Circuit                     Pending
               Seafood Restaurant                                Claim                      Court                                        On appeal
               19CV45290                                                                    Case No. 19CV45290
                                                                                                                                         Concluded
                                                                                            1021 SW 4th Ave.
                                                                                            Portland, OR 97204


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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                                                  Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
 Debtor        Wong's King Restaurant Group #4, Inc.                                                        Case number (if known)




           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     Arbaugh Law, P.C.
                 121 SW Morrison Street
                 Suite 1520
                 Portland, OR 97205                                  Attorney Fees                                             5/10/2020                 $3,665.00

                 Email or website address
                 matt@arbaugh-law.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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                                                  Case 20-31570-pcm7                        Doc 1         Filed 05/13/20
 Debtor        Wong's King Restaurant Group #4, Inc.                                                    Case number (if known)




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was             Last balance
               Address                                           account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred
       18.1.     US Bank                                         XXXX-8782                   Checking                 4/20                                  $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     US Bank                                         XXXX-8733                   Checking                 4/20 - Payroll                        $0.00
                                                                                             Savings
                                                                                                                      Account
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.     US Bank                                         XXXX-8626                   Checking                 4/20 - Lottery                        $0.00
                                                                                             Savings
                                                                                                                      Account
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
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                                                  Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
 Debtor      Wong's King Restaurant Group #4, Inc.                                                      Case number (if known)




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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                                                  Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
 Debtor      Wong's King Restaurant Group #4, Inc.                                                      Case number (if known)




25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Wen Jiang and Company - CPA                                                                                                2017-2019
                    7000 SW Hampton St.
                    Suite 218
                    Portland, OR 97223
       26a.2.       Irvine & Co. CPA                                                                                                           2019-present
                    345 NE 102nd
                    Portland, OR 97203
       26a.3.       Pat Cadonau Bookkeeper                                                                                                     2010-present
                    37528 Emerald Cascade St.
                    Sandy, OR 97055

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Columbia Bank



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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                                                  Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
 Debtor      Wong's King Restaurant Group #4, Inc.                                                      Case number (if known)



       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Wing Lay Wong                                  PO Box 16896                                        President/Secretary
                                                      Portland, OR 97292

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Fulai Wong                                     PO Box 16896                                        Shareholder
                                                      Portland, OR 97292

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Fu-Le Wong                                     PO Box 16896                                        Shareholder
                                                      Portland, OR 97292



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates            Reason for
                                                                 property                                                                 providing the value
       30.1 Fu-Le Wong                                                                                                   05/19-12/19 on
       .    PO Box 16896                                                                                                 regular pay
               Portland, OR 97292                                $23,567                                                 cycles           Wages and Tips

               Relationship to debtor
               Owner/Employee


       30.2 Wing Lay Wong
       .    PO Box 16896
               Portland, OR 97292                                $32,000                                                 5/19-12/19       Wages

               Relationship to debtor
               Owner/Employee


       30.3 Fulai Wong
       .    PO Box 16896
               Portland, OR 97292                                $19,260                                                 5/19-12/19       Wages

               Relationship to debtor
               Owner/Employee


       30.4 Wing Lay Wong
       .    PO Box 16896                                                                                                 Monthly          Payments on
               Portland, OR 97292                                $24,129.05                                              5/19-3/20        Promissory Note

               Relationship to debtor
               Owner


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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                                                  Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
 Debtor      Wong's King Restaurant Group #4, Inc.                                                      Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.5                                                                                                                                Lease Payments
       .    Wing Lay Wong                                                                                                                  on vehicle as
               PO Box 16896                                                                                              Monthly           additional
               Portland, OR 97292                                $9,286.31                                               5/19-3/20         Compensation

               Relationship to debtor
               Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         May 13, 2020

 /s/ May Wong                                                           May Wong
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Business Manager/Authorized
                                            Representative

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                                  Case 20-31570-pcm7                     Doc 1        Filed 05/13/20
                                                               United States Bankruptcy Court
                                                                       District of Oregon
 In re      Wong's King Restaurant Group #4, Inc.                                                     Case No.
                                                                                Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Business Manager/Authorized Representative of the corporation named as the debtor in this case, hereby verify that the attached

list of creditors is true and correct to the best of my knowledge.




 Date:       May 13, 2020                                            /s/ May Wong
                                                                     May Wong/Business Manager/Authorized Representative
                                                                     Signer/Title




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                                                  Case 20-31570-pcm7                Doc 1   Filed 05/13/20
                                                               United States Bankruptcy Court
                                                                         District of Oregon
 In re      Wong's King Restaurant Group #4, Inc.                                                       Case No.
                                                                                 Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Wong's King Restaurant Group #4, Inc. in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 May 13, 2020                                                        /s/ Matthew A. Arbaugh
 Date                                                                Matthew A. Arbaugh 020251
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Wong's King Restaurant Group #4, Inc.
                                                                     Arbaugh Law, P.C.
                                                                     121 SW Morrison Street
                                                                     Suite 1520
                                                                     Portland, OR 97205
                                                                     971-238-3556 Fax:503-716-3833
                                                                     matt@arbaugh-law.com




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                                                  Case 20-31570-pcm7               Doc 1      Filed 05/13/20
